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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

--------------------------------- X
CERTAIN UNDERWRITERS AT
LLOYD’S OF LONDON,
                                                                      CIVIL ACTION.
                         Plaintiff,
                vs.


SCOTT & SCOTT, LLC, MELVIN SCOTT,                                   COMPLAINT AND
and DAVID SCOTT                                                     JURY DEMAND

                         Defendants.                             JANUARY 24, 2005

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       Plaintiffs Certain Underwriters at Lloyd’s of London (“Underwriters”), by and through

their attorneys, Horton, Shields & Knox, P.C. as its complaint against Defendants, allege as

follows:

       1.     This is an action for declaratory, equitable and other relief. Underwriters seek a

declaration that defendants Scott & Scott, LLC, Melvin Scott, and David Scott (defendants

hereinafter referred to collectively as “Scott & Scott” or “Defendants”) have no rights under the

Lawyers Professional Insurance Liability Policy, number 839/CX3627403 (“Policy”), as more

fully described below.

                                      VENUE AND JURISDICTION

           2. This Court has jurisdiction over the subject matter of this action pursuant to 28

 U.S.C. §1332 (a)(2) as it involves a controversy in which there is complete diversity between

 the parties, with the amount in controversy exceeding $75,000.

           3. Under 28 U.S.C. §2201(a), this court may declare the rights of the parties.
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       4. This Court has personal jurisdiction over the Defendants because Defendants reside

in Connecticut and/or do business in Connecticut.

       5. Venue is proper in this district pursuant to 28 U.S.C. § 1391, because a substantial

portion of the events and omissions giving rise to the claim occurred in the District of

Connecticut.

                                        THE PARTIES

       6. Underwriters are underwriting members of syndicates participating in the provision

of insurance coverage at Lloyd’s, London. Underwriters subscribe to Lawyers Professional

Insurance Liability Policy, number 839/CX3627403 issued to Defendants, for the policy period

May 4, 2003, to May 4, 2004, inclusive.

       7. Underwriters subscribing to Lawyers Professional Insurance Policy number

839/CX3627403 do not reside, are not incorporated, and do not have their principal place of

business in the State of Connecticut.

       8. Upon information and belief, Scott & Scott is a limited liability corporation formed

under the laws of the State of Connecticut, with its principle place of business located in

Colchester, County of New London, State of Connecticut.

       9. Upon information and belief, Scott & Scott regularly transact business and provide

legal services in the State of Connecticut.

       10. Upon information and belief, Defendant Melvin Scott is the founding shareholder

of Scott & Scott and is an attorney duly authorized to practice law in the Courts of the State of

Connecticut.

       11.     Upon information and belief, Defendant Melvin Scott regularly transacts business

and provides legal services in the State of Connecticut.



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       12. Upon information and belief, Defendant David Scott is a managing principal and

shareholder of Scott & Scott and is an attorney duly authorized to practice law in the Courts of

the State of Connecticut.

       13. Upon information and belief, Defendant David Scott regularly transacts business

and provides legal services in the State of Connecticut.

                                      BACKGROUND

       14. In February 2004, Scott & Scott reported a claim to Underwriters, which involved a

legal malpractice claim by its former client, Brand Rex Company (“Brand Rex”).

       15. Scott & Scott represented Brand Rex in an underlying contract action between

Brand Rex and Arthur, Harris & Associates, Inc. (“AHA”) a company based in North Carolina.

       16. In 1995, a contract dispute arose between Brand Rex and AHA regarding the

amount of commissions owed to AHA, in connection with its sales of Brand Rex cable

products in the Southeast United States.

       17. Brand Rex retained Defendant David Scott of Scott & Scott to defend its interests.

       18. Upon information and belief, on or around December 1996, Brand Rex instituted a

declaratory judgment action against AHA in Connecticut Superior Court.

       19. On December 28, 1996, AHA commenced a civil action against Brand Rex in the

Superior Court for Wake County, North Carolina.

       20. Thomas Ross, Esq., Brand Rex’s North Carolina counsel, forwarded AHA’s

discovery requests to Scott & Scott on March 11, 1997. Mr. Ross informed Scott & Scott that

it should begin discovery in North Carolina.

       21. Brand Rex moved to dismiss the North Carolina action on the basis of the prior

action pending in Connecticut. However, on March 30, 1997, the Connecticut Superior Court



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dismissed Brand Rex’s declaratory judgment action on the grounds of lack of personal

jurisdiction.

        22. On April 8, 1997, Mr. Ross warned Scott & Scott that it should proceed with

discovery in North Carolina.

        23. Instead of proceeding with discovery, Brand Rex filed a new motion to dismiss the

North Carolina state action on April 24, 1997. This time they argued that AHA failed to

exhaust its administrative and contractual remedies.

        24. On March 25, 1998, the North Carolina Superior Court denied Brand Rex’s second

motion to dismiss and thereafter, Brand Rex filed its answer and counterclaim against AHA.

        25. From April 1997 to August 1999, Brand Rex and AHA were embroiled in a

discovery dispute.

        26. On September 14, 1998, the North Carolina Superior Court issued an order

granting, in part, AHA’s Third Motion to Compel Discovery. The court order overruled Brand

Rex’s objections to fifteen of AHA’s Interrogatories, five of its First Set of Requests for

Production and two of its Second Set. The court order specifically required Brand Rex to

“respond to the foregoing discovery . . . within thirty days of the date of this order [by October

15, 1998] unless otherwise extended by Order of this Court.” A true and correct copy of the

September 14, 1998 court order is attached hereto as Exhibit 1.

        27. Scott & Scott knew prior to the effective date of the Policy, attached hereto as

Exhibit 2, that the Court issued an order on September 14, 1998, requiring Brand Rex to

“respond to the foregoing discovery . . . within thirty days of the date of this order [by October

15, 1998] unless otherwise extended by Order of this Court.”




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         28. On September 28, 1998, Scott & Scott filed an appeal of the Court’s September 14,

1998 order.

         29. Scott & Scott did not obtain a Stay of the September 14, 1998 order.

         30. On September 30, 1998, AHA filed a Motion for Sanctions against Brand Rex for

failure to comply with the court’s September 14, 1998 order. A true and correct copy of

AHA’s Motion for Sanctions against Brand Rex is attached hereto as Exhibit 3.

         31. Scott & Scott knew prior to the May 4, 2003 effective date of the Policy that AHA

had filed a Motion for Sanctions against Brand Rex on September 30, 1998.

         32. On February 2, 1999, AHA moved to dismiss Scott & Scott’s appeal on the ground

that it was from a non-appealable Interlocutory Order. The North Carolina Court of Appeals

granted AHA’s motion on February 25, 1999.

         33. Scott & Scott knew prior to the effective date of the Policy that AHA moved to

dismiss Scott & Scott’s appeal on the ground that it was from a non-appealable Interlocutory

Order.

         34. Scott & Scott did not comply with the court’s September 14, 1998 order compelling

discovery until April 22, 1999. As noted above, Scott & Scott should have properly served the

discovery responses on October 15, 1998.

         35. As a result of Scott & Scott’s failure to comply with the Court’s September 14,

1998 order, the Court, in its August 23, 1999 ruling on AHA’s Motion for Sanctions, noted that

Brand Rex’s discovery response was served some 200-plus days after the September 14, 1998

Order. The Court concluded, inter alia, that Brand Rex “willfully and intentionally failed to

obey the Orders of this Court . . . and [that] such failure is egregious enough to justify the

sanction of striking the Defendant’s answers and counterclaims and entering judgment by



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default against the Defendant.” (Emphasis Added). A true and correct copy of the Court’s

August 23, 1999 order is attached hereto as Exhibit 4.

       36. Scott & Scott knew prior to the effective date of the Policy that the Court issued the

August 23, 1999 order, striking Brand Rex’s answers and counterclaims and entering judgment

by default against Brand Rex.

       37. On September 2, 1999, Brand Rex filed a Motion to Set Aside the Default

Judgment. Scott & Scott argued that the appeal of the discovery order stayed the trial court’s

order and that the law firm would have thirty (30) days from the Court of Appeals’ decision to

comply with the order.

       38. On October 7, 1999, the Court denied Brand Rex’s Motion to Set Aside the Default

Judgment.

       39. Scott & Scott knew prior to the effective date of the Policy that the Court denied

Brand Rex’s Motion to Set Aside the Default Judgment.

       40. After the default judgment was entered, AHA increased its settlement demand to

$2.5 million.

       41. Scott & Scott knew prior to the effective date of the Policy that AHA had increased

its settlement demand to $2.5 million.

       42. Thereafter, the Court ordered a hearing on damages only, which occurred from May

30, 2000, to June 30, 2000. At both hearings, Brand Rex was represented by Scott & Scott and

Mr. Ross.

       43. On November 27, 2002, the Court transmitted a Memorandum of Judgment, finding

that AHA was entitled to damages of $880,352 plus interest, resulting in a $1.2 million verdict.




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       44. Scott & Scott knew prior to the effective date of the Policy that a $1.2 million

judgment was rendered against Brand Rex.

       45. In February 2003, Brand Rex transferred the matter from Scott & Scott to the North

Carolina law firm, Womble, Carlyle, Sandridge & Rice (“Womble Carlyle”), to handle the

appeals work on the trial court’s judgment.

       46. Scott & Scott knew prior to the effective date of the Policy that Brand Rex

transferred the case to Womble Carlyle.

       47. Upon information and belief, Brand Rex did not file an appeal of the judgment but

settled with AHA for approximately $800,000 shortly before the end of 2003.

       48. On or around January 30, 2004, Scott & Scott received a demand letter from Gary

Friedman of Mayer, Brown, Rowe & Maw, in which he alleges a claim of legal malpractice on

behalf of his clients, Balfour Beatty and BICC Cables, which acquired Brand Rex. A true and

correct copy of the demand letter is attached hereto as Exhibit 5.

       49. In the demand letter, Mr. Friedman bases the claim of legal malpractice against

Scott & Scott to two instances: (1) its failure to settle the AHA matter for $150,000 before trial

commenced, and (2) its "glaring deficiencies" in the context of the discovery dispute that

eventually led to a default judgment against Brand Rex. See Exhibit 5.

       50. Mr. Friedman claims that Brand Rex could have settled in 1997, “before [Scott &

Scott’s] negligence,” for $150,000, but that after the trial court entered the default judgment,

the demand “skyrocketed” to $2.5 million. See Exhibit 5.

       51. On September 16, 2004, Balfour Beatty filed a civil action against Scott & Scott,

David Scott, and Thomas Ross of the Ross Law Firm in the US District Court for the District




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 of Connecticut. A true and correct copy of Balfour Beatty’s complaint is attached hereto as

 Exhibit 6.

         52. The complaint contains the same allegations of legal malpractice as detailed in the

 January 30, 2004 letter to Scott & Scott. There is one count of negligence, i.e. Scott & Scott

 and Mr. Ross breached their “duty to exercise the degree of skill commonly exercised by an

 ordinary member of the legal community.” Balfour Beatty seeks compensatory damages, costs

 of litigation, and reasonable attorneys’ fees.

         53. Underwriters issued Scott & Scott the Policy for the period May 4, 2003, to May 4,

 2004. The limits of liability are $2 million for each and every claim and in the aggregate,

 including claims expenses, in excess of $50,000 deductible, including claim expenses. See

 Exhibit 2.

         54. Scott & Scott notified Underwriters of Balfour Beatty’s claim on February 3, 2004.

         55. The Policy provides that Underwriters have the right and duty to defend any Claim

 against the assured seeking damages which are payable under the terms of the subject policy.

 Punitive damages are excluded under the policy. See Exhibit 2.

         56. Section IV entitled, “Exclusions,” of the Policy provides:

                 The coverage under this Insurance does not apply to Damages or Claim

                 Expenses incurred with respect to: (i) any Claim arising out of any acts,

                 errors, or omissions which took place prior to the effective date of this

                 Insurance, if any Assured on the effective date knew or could have

                 reasonably foreseen that such acts, errors, or omissions might be expected

                 to be the basis of a Claim.

See Exhibit 2.



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          57. Scott & Scott knew or could have reasonably foreseen prior to the effective date of

the Policy that its discovery violations, which also occurred before the effective date of the

Policy, might be expected to be the basis of the legal malpractice claim as alleged by Balfour

Beatty.

          58. Once Underwriters learned that Scott & Scott may have knowledge or reasonably

have foreseen acts, errors or omissions that might be expected to be the basis of Balfour

Beatty’s legal malpractice claim, they reserved their rights to raise coverage defenses at the

appropriate juncture while still providing Scott & Scott with defense counsel.

          59. In letters dated March 19, 2004, March 25, 2004, and October 1, 2004, attorneys for

Underwriters reserved Underwriters’ right to raise coverage defenses at the appropriate

juncture. True and correct copies of Underwriters’ reservation of rights letters are attached

hereto as Exhibit 7.

          60. Specifically, in the March 25, 2004 letter attorneys for Underwriters reserved

Underwriters’ rights to a raise coverage defense pursuant to exclusion (i). See Exhibit 7.

          61. An actual controversy exists between Scott & Scott and Underwriters as to whether

Underwriters have any obligation to provide coverage for claims made under the Policy.

                                                COUNT I

PRECLUSION OF COVERAGE UNDER THE POLICY’S “PRIOR KNOWLEDGE”
                        EXCLUSION


          62. Plaintiffs repeat and reallege the allegations of paragraphs 1-61 of this complaint as

if fully set forth herein.

          63. Scott & Scott’s claim against Underwriters arises from acts, errors, or omissions

which took place prior to the effective date of the Policy.



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       64. Scott & Scott knew or should have reasonably foreseen prior to the effective date of

the Policy that such acts, errors, or omissions that might be expected to be the basis of Balfour

Beatty’s legal malpractice claim legal malpractice prior to inception of coverage.

       65. Based on the plain and clear language of exclusion (i) contained in the Policy, Scott

& Scott is precluded from coverage.

       66. Accordingly, the court should declare that Defendants are not entitled to coverage

under the Policy.

                                      JURY DEMAND

       Underwriters demand a trial by jury for all issues so triable.




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WHEREFORE, Underwriters respectfully ask this Court for the following relief:

              (a)    A judgment declaring that Underwriters has no obligation to defend or

                     indemnify the defendants or any other person or entity in connection with

                     a certain civil action (BICC Cables Corp., et al vs. Scott & Scott, LLC,

                     etal, Docket No. 304 CV1545 RND) pending in the U.S. District Court for

                     the District of Connecticut.

              (b)    A judgment declaring that Underwriters have no obligation to defend or

                     indemnify any person or entity in connection with any claim, lawsuit or

                     other legal proceeding.



                                                    PLAINTIFF


                                                    BY_____________________________
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